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                                                                          7                          IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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United States District Court




                                                                              THE REGENTS OF THE UNIVERSITY OF
                                                                              CALIFORNIA and JANET NAPOLITANO,
                               For the Northern District of California




                                                                         12   in her official capacity as President of the            No. C 17-05211 WHA
                                                                         13   University of California,                               No. C 17-05235 WHA
                                                                                                                                      No. C 17-05329 WHA
                                                                         14                 Plaintiffs,                               No. C 17-05380 WHA
                                                                                                                                      No. C 17-05813 WHA
                                                                         15     v.

                                                                         16   UNITED STATES DEPARTMENT OF                             TENTATIVE ORDER RE
                                                                              HOMELAND SECURITY and ELAINE                            MOTIONS TO STAY DISCOVERY
                                                                         17   DUKE, in her official capacity as Acting                AND COMPLETION OF THE
                                                                              Secretary of the Department of Homeland                 ADMINISTRATIVE RECORD
                                                                         18   Security,

                                                                         19                 Defendants.
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                                                                         21          Appended hereto is a tentative order on both parties’ motions for a stay of discovery and

                                                                         22   completion of the administrative record. Both sides may respond by NOON TODAY or earlier.

                                                                         23   Address in your response any critique of the appended tentative order.

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                                                                         26   Dated: November 20, 2017.
                                                                         27                                                          WILLIAM ALSUP
                                                                                                                                     UNITED STATES DISTRICT JUDGE
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